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                            T]NITED STATES DISTRICT COIIRT
                                DISTRICT OF MINNESOTA
                              Criminal No. 20-262 (ADMIECW)


 I.]NITED STATES OF AMERICA,                       INFORMATION

                        Plaintiff,                 21 u.S.c. $ 8a1(a)(1)
                                                   21 u.s.c. s 841(b)(1xB)
               v.                                  21 U.S.C. S 846
                                                   21 U.S.C. $ 8s3
 FOWZI ABDINASIR ELMI,                             28 U.S.C. $ 2a61(c)

                        Defendant.



       TIIE LTNITED STATES ATTORNEY CHARGES TFIAT:

                                          COUNT     1
      (Conspiracy to Distribute and Possess       Sith lntent   to Distribute Fentanyl)

       From at least June 1, 2019 and continuing through at least September 15,2020, in

the State and District of Minnesota, and elsewhere, the defendant,

                                FOWZI ABDINASIR T',LMI,

did unlawfully, knowingly and intentionally conspire with others known and unknown to

the grand jury to distribute 40 grams or more of a mixture and substance containing a

detectable amount         of   N-phenyl-N-[1-(2-phenylethyl)-4-piperidinyl] propanamide

("fentarry1"), in violation of Title 21, United States Code, Sections 8a1(a)(1), 841(bX1)(B),

and 846.

                               FORFEITURE ALLEGATION

       If convicted of Count 1 of this Information, the defendant shall forfeit to the United

States, pursuant to   Title 21, United States Code, Section 853, any properfy constituting, or


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                                                                                   U,S, DISTRICT COURT MPLS
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     United States v. Fowzi Abdinasir Elmi



     derived from, any proceeds the defendant obtained, directly or indirectly, as the result       of
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     such violation and any properly used, or intended to be used,      in any manner or part, to
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     commit, or to facilitate the commission. of such violation, including but not limited to
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     51,562   in U.S.'currency seized on June 1,2019 andS479 in U.S. currency seized on

     September 15,2020.

             If any ofthe above-describedpropbrty   is unavailable for forfeiture, the United States

     intends to seekthe forfeiture of substitute property as provided for in   Title2l,United   States

     Code; Section 853(p).



     Date: August 27,2021

                                                W. ANDERS FOLK
                                                Acting United States Attomey


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                                                BY:   ruSTIN A. WESLEY
                                                Assistant U. S. Attorney
                                                Attornev ID No. 0389189
